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 WITNESS LIST in USA v. CARL MURPHY, 4:21-cr-00103-008


                          Government's Witnesses
              Name                   Date       Start Time     End Time
    Investigator Blaine Shutts     1/9/2023      1:31 PM        2:42 PM

FBI Special Agent Mark Fredkove    1/9/2023       3:10 PM      3:32 PM

    Investigator Blaine Shutts     1/9/2023       3:33 PM      4:55 PM
                                   1/10/2023      8:33 AM      9:05 AM

FBI Special Agent Andrew Masters   1/10/2023      9:06 AM      10:54 AM

         Malek Holmes              1/10/2023    10:57 AM        2:41 PM
                                   1/11/2023     8:35 AM       10:01 AM

    Investigator Jacob Murillo     1/11/2023    10:23 AM       11:36 AM

FBI Special Agent Steven Barnard   1/11/2023    11:37 AM       1:39 PM

 FBI Special Agent David Bustos    1/11/2023      1:40 PM      2:13 PM

     Sergeant Brady Carney         1/11/2023      2:14 PM      3:53 PM

         Michael Darrow            1/11/2023      3:54 PM      4:10 PM

    Investigator Blaine Shutts     1/11/2023      4:11 PM      4:26 PM



                          Defendant's Witnesses
             Name                    Date      Start Time      End Time
         Konosha Calvin            1/12/2023    8:33 AM        9:18 AM
